                                                                                                    12/13/2018
                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA                                S/J.Vasquez
                                      HARRISONBURG DIVISION

  JOHN DOE, by and through his next friend,                )
  NELSON LOPEZ, on behalf of himself and                   )
  all persons similarly situated,                          )
                                                           )
               Plaintiffs,                                 )
                                                           )        Civil Action No. 5:17-cv-97
   v.                                                      )
                                                           )        By: Elizabeth K. Dillon
  SHENANDOAH VALLEY JUVENILE                               )            United States District Judge
  CENTER COMMISSION,                                       )
                                                           )
               Defendant.                                  )

                                         MEMORANDUM OPINION

         Pending before the court and addressed herein is defendant’s motion for summary

  judgment, in which defendant seeks summary judgment on all of John Doe 4’s (Doe 4) claims

  and consequently—according to defendant—summary judgment as to the entirety of plaintiffs’

  case. (D.’s Br. Supp. Mot. Summ. J., Dkt. No. 100.) The motion was briefed, argued before the

  court, and supplemental briefs were filed as required by the court. (Pls.’ Suppl. Mem. Opp’n

  Def.’s Mot. Summ. J., Dkt. No. 164; Def.’s Sup. Br., Dkt. No. 165.) For the reasons discussed

  below, the court concludes summary judgment in defendant’s favor is appropriate as to Doe 4’s

  claim regarding inadequate mental health treatment. It further concludes that there are disputed

  issues of fact precluding summary judgment with regard to Doe 4’s excessive force claim

  (including use of restraints) and his claim based on the use of room confinement, which the court

  construes as a conditions-of-confinement claim. These disputes exist both as to whether Doe has

  suffered an underlying constitutional violation and to the remaining elements of his Monell

  claims.1 If Doe 4 is able to prevail at trial on his underlying constitutional claim alleging


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             Monell v. Dept. of Soc. Servs., 436 U.S. 568 (1978).

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  excessive force or his conditions-of-confinement claim, then he and plaintiffs will be permitted

  to proceed in presenting proof on the other prongs of their Monell claims. Accordingly, the court

  will grant defendant’s motion for summary judgment in part and deny it in part.

                                                  I. BACKGROUND

           On October 4, 2017, plaintiff John Doe 1 filed suit for declaratory and injunctive relief

  pursuant to 42 U.S.C. § 1983, seeking to protect the rights and interests of himself and a putative

  class of unaccompanied alien children (UACs)2 detained at the juvenile detention center (Center)

  operated by defendant Shenandoah Valley Juvenile Detention Center Commission

  (Commission). Initially, the named plaintiffs consisted of John Does 1, 2, and 3. On August 8,

  2018, Doe 4 became the only named plaintiff and class representative. Without objection, the

  class was certified on June 27, 2018, and is composed of Latino UACs who are currently

  detained or will be detained in the future at the Center who either: (i) have been, are, or will be

  subject to the disciplinary policies and practices used by the Center’s staff; or (ii) have needed,

  currently need, or will in the future need care and treatment for mental health problems while

  detained at the Center (hereinafter Detainees). The second amended complaint, filed July 1,

  2018, alleges the Commission violated and violates these Detainees’ rights under the Fifth and

  Fourteenth Amendments through a pattern and practice at the Center of 1) excessive force and

  restraints, including use of the restraint chair, 2) inadequate mental health care based under both

  the deliberate indifference standard and, alternatively, the professional judgment standard, and 3)

  national origin and race discrimination.3 Plaintiffs also include excessive use of solitary or room


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              An unaccompanied alien child is a child who: “(A) has no lawful immigration status in the United
  States; (B) has not attained 18 years of age; and (C) with respect to whom . . . (i) there is no parent or legal guardian
  in the United States; or (ii) no parent or legal guardian in the United States is available to provide care and physical
  custody.” 6 U.S.C. § 279(g)(2).
           3
             At the summary judgment hearing, plaintiffs’ counsel withdrew the national origin and race
  discrimination claims.

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  confinement as part of their excessive force claim, but it is properly analyzed as a separate

  conditions-of-confinement claim.4

           UACs are in the custody of the Office of Refugee Resettlement (ORR) of the United

  States Department of Health and Human Services. The Commission provides secure housing

  and other services at the Center to the UACs pursuant to a cooperative agreement with ORR.

  The purported objective for the UACs’ placement at the Center is to provide a safe and

  appropriate placement “taking into consideration the risk of harm to the [UAC] or others, the

  community and the risk of flight.” (Cooperative Agreement 1–2, Ex. B-1, Dkt. No. 100-2.)5

  The Center serves as a secure detention facility and provides secure placement “until [the UACs]

  are released to a sponsor, obtain immigration legal relief, age out, or are discharged by the

  Department of Homeland Security.” Id.

           It is clear from plaintiffs’ complaint, briefing, and expert witness reports, that plaintiffs

  are frustrated with a system that greets immigrant children fleeing oftentimes violent and

  traumatic backgrounds by housing them, sometimes for long periods of time, in detention

  facilities that are designed to house—and do house—juveniles who have been adjudged

  delinquent and charged juveniles awaiting trial. These circumstances sometimes lead to the

  immigrant children acting out, that then results in continued or additional restrictions on them.

  Not surprisingly, plaintiffs desire and advocate for a best practices approach, but the law does

  not require best practices. Rather, it requires constitutional practices, and that is the issue before

  the court. So, the court must determine on summary judgment whether the case may proceed to

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             Defendant has responded and briefed the issue of plaintiffs’ room confinement claim and has not
  objected to its inclusion as part of plaintiffs’ excessive force claim. Nonetheless, as discussed below, it is properly
  construed and analyzed as a conditions-of-confinement claim.
           5
             All citations to lettered exhibits are attached to defendant’s brief in support of its motion for summary
  judgment, while all citations to numbered exhibits are attached to plaintiffs’ memorandum in opposition to
  defendant’s motion for summary judgment. Exhibit numbers 20 and 24, cited herein, were provided to the court but
  not docketed. Plaintiffs are asked to promptly docket these exhibits, with redactions, if necessary.

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  trial with regard to the alleged excessive force and inadequate mental health care claims based on

  constitutional requirements.

  A. Use of Force and Doe 4

         Doe 4 is a 17-year-old citizen of Honduras who arrived in the United States on or about

  May 15, 2017, and was transferred to the Center on or about December 1, 2017. The Center uses

  a program approved by the Virginia Department of Juvenile Justice called Handle with Care.

  This program allows the use of force as a last resort and requires use of the least amount of force

  reasonably necessary. Restraints may be used, not as punishment, but if necessary after less

  restrictive measures are unsuccessful. A Detainee is not to be left unsupervised while in

  mechanical restraints, such as handcuffs, and the use of restraints is to be discontinued as soon as

  safely possible. The Center also notes that use of excessive force is grounds for dismissal and

  the filing of a child abuse complaint with Child Protective Services. Indeed, the Center has

  terminated employees for use of force—even in circumstances where the employee was being

  assaulted and returned punches.

         Doe 4 sets forth three instances of alleged excessive use of force while detained at the

  Center. While the parties’ briefing lacked detail about the record evidence regarding the

  incidents, the court has endeavored to provide a more fulsome account. First, in his response to

  defendant’s interrogatories, Doe 4 recounts an incident where he “got mad at staff,” and staff

  members grabbed him, fell on top of him, and hurt him. Doe 4 states that they put him in

  handcuffs and placed him in his cell, and he was forced to stay in handcuffs inside his room and

  lie on the floor without a mattress. Doe 4 stated that the handcuffs left marks and bruises and

  hurt him. He does not provide a date for this incident. (Doe 4 Resp. to Interrog. 5, 17, Ex. F,

  Dkt. No. 100-6.)



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           Defendant highlights that, despite the grievance procedure available to Detainees, it has

  no reports from Doe 4 regarding his allegations from this particular incident. And, although Doe

  4 does not remember the date of this incident, defendant believes that he is describing the events

  that occurred on February 4, 2018, because that is the only incident in the Center’s records

  during which Doe 4 was placed in mechanical restraints. (Def.’s Br. Supp. Mot. Summ. J. 5;

  Ropp Aff. ¶¶ 10–11, Dkt. No. 100-8.) In the Center’s “Significant Incident Report” (SIR)

  describing this incident,6 it states: Doe 4 became frustrated with staff when he was instructed to

  trim his fingernails and told that he would fail to earn a behavioral point if he did not; when he

  requested to speak with a supervisor and the supervisor told him he could earn the point back if

  he trimmed his fingernails, Doe 4 refused and continued arguing; Doe 4 then threatened to

  assault a staff member and punched a table; Doe 4 was instructed to return to his room to cool

  down, and when staff members spoke to him to attempt to deescalate his behavior, he continued

  to argue with them; Doe 4 began punching a staff member in the face and was consequently

  placed in a two-man physical restraint, which he resisted, and he would not let go of the staff

  member he had punched; Doe 4 was then lowered to the floor while physically restrained, where

  he continued to struggle against them; mechanical restraints were put on his wrists and he

  continued to struggle and was escorted to his room; the restraints were taken off after six minutes

  and he was secured in his room. (SIR 1–2, Ex. H-4, Dkt. No. 100-8; Ropp Aff. ¶ 9(f).)

           In the second incident, Doe 4 recounts that he had reported issues with a staff member,

  specifically, that on one occasion the staff member hit him “[i]n the ribcage and the face and on



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              Defendant states in its brief that it offers the SIRs to “supplement testimony that rarely includes details of
  any substance” and not to contradict Doe 4’s testimony. (Def.’s Br. Supp. Mot. Summ. J. 6 n.3.) And it is accurate
  that there have been instances at the Center where he could not remember what he had done while he was angry.
  (Doe 4 Dep. 81:25–82:1, Dkt. No. 100-7.) Nonetheless, to the extent that Doe’s account of those incidents
  contradicts the account in the SIRs, the summary judgment standard compels the court to credit Doe’s testimony and
  take reasonable inferences therefrom in his favor.

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  the arm” when Doe 4 was outside and in his room. Doe 4 stated that when he and other UACs

  were talking to a staff member about problems they had, staff said they were being disrespectful,

  and one staff member said he was going to take away a behavioral point. Another staff member

  then pushed Doe 4 against the wall and said he wanted to put him in restraints, to which Doe 4

  replied by asking if they could keep “talking calmly.” The staff member then told Doe 4 to go to

  his room for a time-out. In his deposition testimony, Doe 4 agreed that he stood against the wall

  and refused to take a time-out at this point because he was angry, but this contradicts his

  response to interrogatories in which he stated that he pulled himself off the wall. Then, staff

  members allegedly grabbed him, Doe 4 moved his arms down to protect himself, and staff hit

  him in the ribs and face and held his hands behind his back while they pinned him against the

  wall. Doe 4 testified that once he was in his room with more than ten staff members, the

  Center’s staff put his hands behind his back and moved him to the corner of the room, where a

  staff member twisted his arm and banged him against the cement. When a staff member fell on

  top of him and Doe 4 said he could not breathe, they allegedly said it was “good” that he could

  not breathe. Doe 4 stated that a staff member also hit his hand with something hard, he had

  bruises from this incident, and his face, ribs, and hand really hurt. When asked if he tried to hit

  or kick staff at any time during this incident, Doe 4 replied, “maybe.” (Doe 4 Dep. 50:23–54:18,

  87:24–88:18, 91:23–92:5, Dkt. No. 129-4; Doe 4 Resp. to Interrog. 5.)

         Defendant points out that Doe 4 reported this incident to his mental health clinician, who

  reported the allegations to CPS. (Doe 4 Dep. 53:3–9; Doe 4 Resp. to Interrog. 6–7; Letter to

  Shenandoah Valley Social Services, Ex. H-7, Dkt. No. 100-8.) In response, CPS decided not to

  conduct an investigation, finding that the incident did not meet the legal definition of child abuse

  or neglect. (Letter from Shenandoah Valley Social Services, Ex. H-8, Dkt. No. 100-8.)



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  Defendant states that the date of Doe 4’s report to his counselor corresponds with events that

  occurred on April 1, 2018, for which two SIRs were created. (Def.’s Br. Supp. Mot. Summ. J.

  6.) The first SIR describes Doe 4’s allegations. It states that Doe 4 was directed to return to his

  room for time-out after he asked if he had lost any behavioral points, he initially refused but then

  agreed to a time-out, and as he was walking toward his room, the shift supervisor punched Doe 4

  in the rib cage. Thereafter, the SIR states that Doe 4 resisted attempts to put him in physical

  restraints and he was moved into his room, where the same supervisor punched him on the right

  side of his face and Doe 4 also sustained a puncture wound to his right hand. (SIR, Ex. H-6, Dkt.

  No. 100-8.) The second SIR recounting the events on April 1 describes the actions taken by staff

  members during the incident. It states that during free time, Doe 4 was acting in a disruptive

  and disrespectful manner and was consequently directed to take a time-out in his room. When he

  refused and stood against the wall, staff attempted to deescalate the situation. After Doe 4

  refused, continued disobeying the staff’s instructions, and showed aggressive behavior, staff

  placed him in a two-man restraint and escorted him to his room, where he struggled against staff

  and additional staff was needed. Once in the room, Doe 4 scratched and kicked staff and was

  then placed in a one-man restraint, after which he continued fighting by attempting to kick and

  headbutt the staff. After five minutes, the staff released Doe 4 and left him in his room. Some of

  the staff members had scratches and red marks from their interactions with Doe 4. After he was

  left in his room, Doe 4 started punching the door and sink in his room. (SIR, Ex. H-5, Dkt. No.

  100-8.)

            In the third instance of alleged excessive force, which Doe 4 believes occurred in mid-

  July, Doe 4 asked for deodorant spray and was told no because shower time had passed. When

  the supervisor left, Doe 4 asked a staff member to open the closet so he could get deodorant



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  spray. The staff member denied Doe 4’s request because the supervisor had, and Doe 4 felt

  angry. Doe 4 stated that five or six staff members then surrounded him, he tried to protect

  himself as one approached him, and “a lot of staff members” fell on top of him and grabbed him.

  He says that they then folded his arms up to his neck so it felt like they would break or pull his

  arms off, and were hitting him, moving him around, and struggling to get a hold on him. Then,

  Doe 4 alleges that once he was “calm and collected,” they brought him into his room, where they

  tried to restrict his arms and legs, one staff member held his feet, and another hit him with metal

  handcuffs, leaving a bruise close to his neck. Doe 4 stated that he punched a staff member in the

  face after the staff members grabbed him. He could not recall if he “head-butted” another staff

  member. (Doe 4 Resp. to Interrog. 6, 15.)

         Defendant states that it has no report of allegations of mistreatment from this incident by

  Doe 4. (Def.’s Br. Supp. Mot. Summ. J. 7; Ropp Aff. ¶ 15.) In the Center’s SIR from this July

  incident, it states that Doe 4 requested deodorant and refused to go to his room, and when staff

  unsuccessfully attempted verbal redirection, they called for assistance. After multiple attempts at

  verbal redirection, a staff member was directed to help guide Doe 4 to his room. As he

  approached Doe 4, Doe 4 responded aggressively by punching him in the face. Then, because

  they had exhausted all forms of less intrusive intervention, staff placed Doe 4 in a physical

  restraint and called for additional assistance. Doe 4 head-butted a staff member as he was trying

  to open the door to his room. Because of his continued struggle against physical restraint, Doe 4

  was placed in a two-man physical restraint. Doe 4 continued struggling and became more

  aggressive, and staff was thereafter able to place him in his room. (SIR, Ex. H-9, Dkt. No. 100-

  8.)




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  B. Solitary Confinement (or Room Confinement) and Doe 4

         The Center also uses a technique that it calls room confinement—and plaintiffs call

  solitary confinement—in which a Detainee is confined for a period of time in the room to which

  he is otherwise assigned. Prior to the implementation of its current behavioral management

  program in August 2016, the Center confined Detainees to their rooms for predetermined

  amounts of time when their behavior crossed certain thresholds. Under the new program, room

  confinement is only used when necessary to ensure safety. If a Detainee is in room confinement,

  he or she is supposed to be monitored every 15 minutes, reevaluated at least every four hours,

  and released as soon as safely possible. Additionally, an SIR is required if the confinement

  results in removal from programming.

         Doe 4 recounts several instances of confinement in his responses to defendant’s

  interrogatories. Doe 4 states that he has been put in restriction in his room for over an hour many

  times, and often, this was for small things that did not involve fighting. Doe 4 describes several

  incidents of confinement that he specifically remembers: 1) after the incident described above

  when he “got mad at staff” and was put in handcuffs, he was “forced to stay in cuffs in [his] cell,

  [and] forced to lie on the hard floor with no mattress”; 2) after the incident described above when

  he was hit in the ribs and face, he was in restriction for four hours; 3) on one occasion when he

  asked to speak with his counselor and his request was denied, he was in restriction for seven or

  eight hours; 4) when he kept asking staff members why he could not play video games in his pod

  and became angry and said “a bad word they understood,” he was locked in his cell for four or

  five hours; 5) on two occasions, when he accidentally kicked another child and kicked the ball

  into a camera while playing soccer, he was placed in restriction for four hours; and 6) the longest

  time he was put in restriction was for three days. (Doe 4 Resp. to Interrog. 17–19.)



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          In addition, in his deposition, Doe 4 confirmed that there was an incident where he

   became upset and dumped his food and drink on the lid of his tray. But in his own words, he did

   not want to eat and was told by a supervisor to throw away his food, he became confused and

   said he needed time to think, and the supervisor “grabbed the plate and threw it out.” (Doe 4

   Dep. 81:2–13.) Dr. Lewis recounts this incident in his report with more detail, noting that after

   Doe 4 dumped his food, he refused several requests to return to his room. When he struggled

   and tried to kick staff, he was put in room confinement, where he “became upset and tied a shirt

   around his neck and was given a suicide blanket.” (Dr. Lewis Report ¶ 150, Dkt. No. 106-2.)

          Also in his deposition, Doe 4 stated that there were other instances during which he was

   confined to his room for longer than one day, in addition to the three-day confinement, but he

   could not remember specifically how many times. When asked if he knew the reasons why he

   was being confined in those incidents, Doe 4 replied: “just because supposedly I’m not being

   respectful,” and explained that he used the word “supposedly” because “sometimes they do

   things that are not true.” (Doe 4 Dep. 80:5–22.) Doe 4 provided a more thorough explanation in

   his deposition regarding the incident when he asked to speak to his counselor. Doe 4 stated that

   he remembered the incident described by defense counsel as the time he became “upset about not

   being able to sit in the chair and about point losses,” but said, contrary to defense counsel’s

   description of the event, that he was not angry. However, in his response to defendant’s

   interrogatories, Doe 4 stated that he was “frustrated about something that staff had done” to him.

   In his words, Doe 4 stated that he asked to talk to his counselor several times, to which a staff

   member repeatedly responded no and asked him to get up from the chair. Then, Doe 4 said that

   he talked to the supervisors, who told him that he was insulting the other staff member and not

   following his instructions. When the supervisors asked him to take a time-out, Doe 4 says he



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   responded by stating, “That’s okay. I want to talk to my counselor.” At this point, Doe 4 states

   that the staff ignored him when he asked them not to touch him, grabbed his hands and arms,

   took away everything, and put him in his cell for seven or eight hours. He believes that the only

   thing he did in this situation was sit in a chair and ask for help. (Id. 83:11–84:18; Doe 4 Resp. to

   Interrog. 8–9.)

          As to the time when Doe 4 states he was held in confinement for three days, defendant

   refers to that period as a “three-day modified programming schedule,” and points out that Doe 4

   attended educational programming and was given an opportunity for recreation, and that this

   period of confinement and modified programming resulted from Doe 4’s assault of punching a

   staff member in the face. (Def.’s Br. Supp. Mot. Summ. J. 3; Ropp Aff. ¶¶ 9(c), 20.) Defendant

   asserts that this was the only instance it knows of during which Doe 4 was held in confinement

   for a period of 24 hours or more, relying on the lead case manager’s statement in her affidavit

   that “Doe 4 was placed in room confinement for 24 hours after punching a staff member in the

   face several times and refusing to let go,” and he “continued to be disruptive by cursing at staff

   and banging on the door and wall of his room” after being placed in his room. (Def.’s Br. Supp.

   Mot. Summ. J. 3–4; Ropp Aff. ¶ 18.) The lead case manager also stated that Doe 4 has been

   placed on a three-day modified programming schedule on several occasions, including the time

   he punched a staff member, and had access to education programming and recreation whenever

   he was on this modified schedule. (Ropp Aff. ¶ 20.)

   C. Mental Health Claim and Doe 4

          A Detainee, upon arrival at the Center, is given a mental health screening to determine if

   an assessment is required. If so, an assessment is performed by a mental health clinician. If the

   assessment indicates a need for a psychological evaluation, then the Center requests approval



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   from ORR. Each Detainee is provided with a case manager and a mental health clinician, who

   are bilingual in Spanish. Each Detainee is supposed to have one-on-one counseling with his or

   her clinician at least once a week, and clinicians are supposed to provide two group counseling

   sessions each week, although there is some evidence that those informal group sessions are not

   always run by clinicians and do not always occur. A psychiatrist sees Detainees every three to

   six weeks, and Detainees may schedule additional appointments with him without limitation.

            When Doe 4 arrived at the Center, he underwent a psychological evaluation and,

   although he was uncooperative, he was diagnosed with post-traumatic stress disorder and

   attention deficit hyperactivity disorder based on his history. The psychologist that conducted the

   investigation recommended that Doe 4 be placed in residential treatment. (Psychological

   Evaluation 10, Ex. H-10, Dkt. No. 100-8.) The Center had attempted to transfer Doe 4 to several

   residential treatment facilities on several different occasions, but those requests require approval

   by ORR and acceptance by the receiving facility. Because Doe 4 had a history of violence at the

   Center, other facilities would not accept him. (Ropp Aff. ¶¶ 21–22.)

            While at the Center, Doe 4 met with a mental health clinician, who is a licensed

   professional counselor with a master’s degree in clinical mental health, for about an hour about

   once a week,7 (Doe 4 Dep. 34:3–22, 40:8–41:4), and with a psychiatrist who prescribed him

   medicine once every six weeks,8 (Doe 4 Dep. 37:11–38:22). More than fifty percent of each

   visit with Dr. Kane is supposed to be dedicated to one-on-one counseling and coordination of

   care. (Ex. H-3, at 2–3, Dkt. No. 100-8.) Doe 4 did not report thoughts of suicide or self-harm to



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              Doe 4 testified that his mental health clinician talked to him about behaving properly in order for him to
   leave the Center. (Doe 4 Dep. 40:22–24.)
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              Doe 4 testified that the appointments lasted only one or two minutes, but he also acknowledged that the
   psychiatrist also asked Doe 4 how he was doing, how he was feeling, how he was sleeping, if he had anxiety, and if
   he had anger. (Doe 4 Dep. 38:7–18.)

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   either his mental health clinicians or his psychiatrist. (Exs. H-2, H-3, Dkt. No. 100-8.) The

   record reflects only one incident where Doe 4 harmed himself by punching a wall. (Doe 4 Dep.

   44:4–10, 79:25–80:4.) In addition, Doe 4 testified that he feels better about his anger now and

   can think of other things to calm down when he feels angry. (Id. 81:25–82:9.)

          Doe 4 stated that he often asked his case worker and counselor to see a psychologist who

   he could talk to about his feelings, but the Center did not let him. He stated that he has only seen

   a psychologist once since arriving at the Center. Because he has not been able to speak with a

   psychologist, Doe 4 testified that he has been hurt and so angry that he has harmed himself.

   (Doe 4 Resp. to Interrog. 8, 10.) The Center’s lead case manager, however, has no record of any

   requests from Doe 4 to see a psychologist, and there is no record of such a request in his case

   file, although it should have been documented as a matter of policy. (Ropp Aff. ¶ 17.) As noted,

   moreover, the only record of harm is Doe 4’s punching of a wall in anger.9

                                                  II. DISCUSSION

   A. Summary Judgment Standard

          Under Rule 56, summary judgment is proper where “there is no genuine dispute as to any

   material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

   genuine issue of material fact exists only where the record, taken as a whole, could lead a

   reasonable jury to return a verdict in favor of the non-moving party. Ricci v. DeStefano, 557

   U.S. 557, 586 (2009). In making that determination, the court must take “the evidence and all

   reasonable inferences drawn therefrom in the light most favorable to the nonmoving party.”

   Henry v. Purnell, 652 F.3d 524, 531 (4th Cir. 2011) (en banc) (quoting Ausherman v. Bank of

   Am. Corp., 352 F.3d 896, 899 (4th Cir. 2003)).



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              In any event, it is undisputed that a request to see a psychologist had to be approved by ORR.

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            A party opposing summary judgment “may not rest upon the mere allegations or denials

   of his pleading, but . . . must set forth specific facts showing that there is a genuine issue for

   trial.”10 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (citations omitted).

   Moreover, “[t]he mere existence of some alleged factual dispute between the parties will not

   defeat an otherwise properly supported motion for summary judgment.” Anderson, 477 U.S. at

   247–48. Instead, the non-moving party must produce “significantly probative” evidence from

   which a reasonable jury could return a verdict in his favor. Abcor Corp. v. AM Int’l, Inc., 916

   F.3d 924 (4th Cir. 1990) (quoting Anderson, 477 U.S. at 249–50).

   B. Monell Standard

            Plaintiffs bring their § 1983 claims against the Commission as an entity and not against

   its employees or agents. They assert liability for unconstitutional policies or customs and

   practices under a theory first recognized in Monell v. Dept. of Soc. Servs., 436 U.S. 568 (1978).

   At the summary judgment hearing, plaintiffs’ counsel conceded that they are not proceeding with

   the theory that the Commission’s written policies themselves are unconstitutional, but rather that

   the Commission has an unconstitutional custom or practice. In order to prevail on a Monell

   claim involving unconstitutional customs or practices, a plaintiff must first show an underlying

   constitutional violation by an employee or agent of the defendant entity.11 City of Los Angeles v.

   Heller, 475 U.S. 796, 799 (1986) (per curiam); S.P. v. City of Takoma Park, 134 F.3d 260, 272

   (4th Cir. 1998). A class representative or named plaintiff is also required to make this showing

   in a class action Monell case. See Agnew v. District of Columbia, 263 F. Supp. 3d 89, 95 n.3 &

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               Ignoring this requirement, plaintiffs’ brief often cites to allegations in the second amended complaint
   and argues that certain matters have been sufficiently pled.
            11
                Defendant clearly points out this requirement in its initial brief in support of summary judgment, and the
   brief then concentrates on the deficiencies in Doe 4’s evidence. While defendant did not cite to Doe v. Obama, 631
   F.3d 157 (4th Cir. 2011), with regard to standing, until its reply brief, in no way could plaintiffs have been surprised
   by defendant’s argument. Rather, it appears that plaintiffs initially choose to ignore the argument with regard to the
   specifics of Doe 4’s claims. Plaintiffs only addressed the specifics of Doe 4’s claims in their supplemental brief.

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   98 n.7 (D.D.C. 2017) (given no constitutional violation suffered by the named plaintiffs and class

   representatives, findings regarding custom or practice were unnecessary, and the class action was

   dismissed for failure of the same to show a personal injury in order “to have standing on behalf

   of a class”) (quoting Spokeo, Inc. v. Robins, 578 U.S. __, 136 S. Ct. 1540, 1547 n.6 (2016));

   Newberry v. Cty. of San Bernardino, No. 16-55466, 2018 WL 4450831, at *2 (9th Cir. Sept. 18,

   2018) (finding that because the defendant had not violated the constitutional rights of a named

   plaintiff, the constitutional violation prerequisite to a Monell claim was not met and no named

   plaintiff had a claim against the defendant). See also Martinez v. Haleas, No. 07-cv-6112, 2009

   WL 2916852, at *4 (N.D. Ill. Sept. 2, 2009) (in proposed class action, absent an underlying

   constitutional violation, there is no claim under Monell).

          Plaintiffs rely upon Whitlock v. Johnson, 153 F.3d 380, 384 (7th Cir. 1998), in arguing

   that “[a] properly certified class has a legal status separate from and independent of the interest

   asserted by the named plaintiff.” In Whitlock, the class was properly certified, but it was later

   determined that the class representative could not prove his individual claim, and summary

   judgment was entered against him on that claim. Id. Because of this, the class representative

   could no longer adequately serve in that capacity. Id. The class was not decertified; however,

   new plaintiffs were named as class representatives. Id. The court noted that this was not a case

   where the initial class representative never had standing, but it was a case where he had standing

   and ultimately lost on the merits. Id. at 385. Thus, the court still had jurisdiction under Article

   III. Id. Whitlock certainly does not stand for the proposition that an underlying constitution

   violation is not a required prong of Monell in a class action or that the class representative need

   not be able to prove his own underlying constitutional violation. Nor does it stand for the




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   proposition that a class action may continue a claim on its own without an adequate class

   representative, and the court will not allow this class to do so.

           To prevail on a Monell claim and after showing an underlying constitutional violation,

   the plaintiff must show an unconstitutional custom or practice. These “may be found in

   ‘persistent and widespread … practices of … officials [which,] [a]lthough not authorized by

   written law, [are] so permanent and well-settled as to [have] the force of law.’” Spell v.

   McDaniel, 824 F.2d 1380, 1386 (4th Cir. 1987) (quoting Monell, 436 U.S. at 691 (citations

   omitted)). Of course, a constitutional written policy does not insulate the entity from liability for

   unconstitutional customs or practices. See, e.g., Marriott v. Cty. of Montgomery, 426 F. Supp. 2d

   1, 9 (N.D.N.Y. 2006) (“Constitutional words cannot erase unconstitutional conduct”).

           In addition to proving an unconstitutional custom or practice, a plaintiff must show that

   the custom or practice “is (1) fairly attributable to the municipality [or entity] as its ‘own,’ . . .

   and is (2) the ‘moving force’ behind the particular constitutional violation.” Spell, 824 F.2d at

   1387 (citations omitted). In order to show attribution, a plaintiff may show “duration and

   frequency of the practices warrants a finding of either actual or constructive knowledge by the

   [body] that the practices have become customary among its employees,” . . . [or that the entity’s]

   policymaker has actual or constructive knowledge of such a course of customary practices

   among employees subject to the policymaker’s delegated responsibility for oversight and

   supervision . . . .” Id. at 1387. If the entity or policymaker has actual or constructive knowledge,

   the entity will be liable upon proof that the entity or policymaker failed, “as a matter of specific

   intent or deliberate indifference, thereafter to correct or stop the practices.” Id. at 1391. See also

   Wright v. Town of Glenarden, No. 95-2580, 1996 WL 350009, at *3 (4th Cir. June 26, 1996).

   Finally, “[a] sufficiently close causal link between such a known but uncorrected custom or



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   usage and a specific violation is established if occurrence of the specific violation was made

   reasonably probable by permitted continuation of the custom.” Spell, 824 F.2d at 1391.

   C. First Monell Element—An Underlying Constitutional Violation

          Given the above proof requirements for a Monell claim, the court first turns to whether

   Doe 4 has sufficient evidence of underlying constitutional violations for excessive force, room

   confinement, and inadequate mental health treatment.

          1. Excessive Force

          In order to prevail on an excessive use of force claim, all parties agree that plaintiffs must

   show that the force was not objectively reasonable under the circumstances. Kingsley v.

   Hendrickson, 135 U.S. 2466, 2473 (2015). Doe 4’s evidence establishes genuine disputes of

   material fact with regard to whether he was the victim of excessive uses of force. So summary

   judgment is not available to defendant on its theory that Doe 4 cannot show an underlying

   constitutional violation in this regard.

          With regard to the instances of excessive force and use of restraints, in the first incident

   described in the background section, there is a dispute of fact about whether Doe 4 was forced to

   lie on the floor of his room with mechanical restraints and whether the force used in response to

   his anger was excessive. The length of time that Doe 4 was in handcuffs also is directly in

   dispute. In the second incident, there is also a dispute of fact about whether the use of force

   against Doe 4 was excessive because the two SIRs from the incident—one recounting Doe 4’s

   allegations and one recounting the actions of the staff—describe different circumstances that

   ultimately led to the use of force. Although Doe 4 stated in his deposition that he was angry

   when the staff members asked him to go to his room, this does not discount his statements that

   he also asked to “talk calmly” and pulled himself off the wall in response to their requests.



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   Further, even if Doe 4 did refuse to go to his room and displayed aggressive behavior, there is a

   dispute of fact as to whether the force used against him—including punching him in the ribcage,

   which is excluded from the Center’s SIR—was excessive in response to his behavior. In the

   third incident, there is a dispute of fact about whether Doe 4 punched a staff member in the face

   before or after staff members placed him in a physical restraint following his request for

   deodorant. Additionally, Doe 4’s description of the force used against him in that incident sets

   forth more aggressive behavior by the Center’s staff that caused him pain and bruising, while the

   SIR does not include a similar description of the force used against Doe 4. Thus, there are

   disputes of fact as to the incidents of force and whether the use of force was unconstitutional

   against Doe 4.

          2. Room Confinement

          Room confinement is not a use of force, and no party suggests the legal standard

   applicable to confinement. The court looks to Bell v. Wolfish, 441 U.S. 520 (1979), which

   directs courts to examine the constitutionality of a pretrial detainee’s conditions of confinement

   or restrictions under the Fourteenth Amendment by determining “whether those conditions

   amount to punishment of the detainee.” Id. at 535. This is required because pretrial detainees

   “may not be punished prior to an adjudication of guilt . . . .” Id. This is not to say that

   restrictions on liberty may not be imposed because restrictions that are “reasonably related to

   legitimate government objectives are not tantamount to punishment.” Id. at 538. See also

   Youngberg v. Romeo, 457 U.S. 307, 320 (1982).

          In determining whether there are disputes of fact as to the room confinement claim, it is

   worth noting that defendant simply does not address some of the incidents set forth in Doe 4’s

   responses to interrogatories. For example, defendant does not present any contrary evidence to



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   Doe 4’s description of the incident where he requested to speak to his counselor and was placed

   in restriction for seven or eight hours after his request was denied. Defendant also does not

   address the alleged incidents when Doe 4 asked to play video games or accidentally kicked a ball

   in soccer and was placed in restriction. Further, there is a dispute of fact regarding the nature of

   Doe 4’s confinement following the incident where he allegedly punched a staff member—while

   Doe 4 states that he had to lie on the hard floor without a mattress and with his handcuffs on,

   defendant disputes only the handcuff issue and does not address the other specific allegations.

   Instead, defendant focuses on Doe 4’s opportunity for educational programming and recreation

   during the overall three-day period of confinement.

            Thus, there are disputes of material fact regard the circumstances of Doe 4’s room

   confinement. Indeed, based on the record before it, the court cannot say that a reasonable

   factfinder could not find in Doe 4’s favor on this issue, if it were to entirely credit his accounts of

   these incidents. So, the court will deny summary judgment on defendant’s theory that Doe 4

   cannot prove an underlying constitutional violation with regard to room confinement.

            3. Inadequate Mental Health Care

            The complaint alleges a claim for deliberate indifference to Doe 4’s serious mental health

   needs as well as an alternative claim for inadequate mental health care based upon failure to

   abide by the professional judgment standard. For purposes of summary judgment, plaintiffs’

   argument focused on the deliberate indifference standard, and the court finds that the deliberate

   indifference standard applies to plaintiffs’ claims. As set forth in defendant’s brief, courts have

   repeatedly applied the deliberate indifference standard to civil detainees, including immigrant

   detainees.12 (Def.’s Br. Supp. Mot. Summ. J. 19–20.)


            12
               The professional judgment standard is applied to programs with a treatment or rehabilitation objective.
   See cases cited in defendant’s supplemental brief at pages 19–20. (Dkt. No. 165.)

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          In order to prove deliberate indifference with regard to medical care, a plaintiff must

   satisfy objective and subjective elements. Objectively, he must show that he had a sufficiently

   serious medical need. Jackson v. Lightsey, 775 F.3d 170, 178 (4th Cir. 2014). A serious medical

   need exists when it has been “diagnosed by a physician as mandating treatment or one that is so

   obvious that even a lay person would easily recognize the necessity for a doctor’s attention.”

   Scinto v. Stansberry, 841 F.3d 219, 225 (4th Cir. 2016) (internal quotation marks omitted). The

   subjective element first requires a showing that defendant subjectively recognized a substantial

   risk of harm. Parrish v. Cleveland, 372 F.3d 294, 303 (4th Cir. 2004) (“[T]hey actually must

   have perceived the risk”) (citation omitted). Then, the defendant must subjectively recognize

   that his actions were “inappropriate in light of that risk.” Id. This standard is more than “mere

   negligence or even civil recklessness.” Jackson, 775 F.3d at 178.

          Indeed, under the deliberate indifference standard, negligence or a lapse in professional

   judgment is insufficient. Estelle v. Gamble, 429 U.S. 97, 106 (1976); see also Farmer v.

   Brennan, 511 U.S. 825, 844 (1994). Moreover a plaintiff is not entitled, under the constitution,

   to “the exact mental health treatment, diagnosis, and placement that he might desire.” Price v.

   Dixon, 961 F. Supp. 894, 899 (E.D. N.C. 1997) (citing Wright v. Collins, 766 F.2d 841, 849 (4th

   Cir. 1985)). In the Eighth Amendment context, the Supreme Court has recognized that

   “unqualified access to health care” is not required, Hudson v. McMillian, 503 U.S. 1, 9 (1992),

   nor is access to the “best and most expensive form of treatment,” Taylor v. Barnett, 105 F. Supp.

   2d 483, 489 n.2 (E.D. Va. 2000). A mere disagreement with medical personnel is also

   insufficient to show deliberate indifference. Wright, 766 F.2d at 849. Additionally, officials are

   entitled to rely upon the judgment and expertise of medical professionals. See, e.g., Shakka v.

   Smith, 71 F.3d 162, 167 (4th Cir. 1995); Miltier v. Beorn, 896 F.2d 848, 854–55 (4th Cir. 1990).



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           Here, Doe 4 was evaluated following his arrival at the Center by a psychologist. He was

   diagnosed with ADHD and PTSD, for which he received medication. He saw a psychiatrist at

   least every six weeks, and he met with a licensed mental health clinician for individual

   counseling for about one hour once each week. Unlimited additional meetings with the

   psychiatrist were available to him, as was group counseling.

           While Doe 4 states that he often asked to see a psychologist instead of his licensed

   professional counselor, there is no evidence indicating that a medical professional recommended

   that he see a psychologist in order to adequately treat a serious medical need. Doe 4 admits that

   he never thought of committing suicide, that he had no thoughts of self-harm, and that the only

   incident where he harmed himself was when he punched a wall in anger.

           There was a recommendation, following Doe 4’s initial evaluation, that he be placed in

   residential treatment.13 (Psychological Evaluation 10, Ex. H-10, Dkt. No. 100-8.) There is,

   however, no indication in that recommendation that failure to secure such a placement would

   result in any harm or risk of harm to Doe 4. Furthermore, the Center was not deliberately

   indifferent to that recommendation. Instead, it attempted to transfer Doe 4 several times to

   several residential treatment facilities, but to effect his transfer would require both ORR’s

   approval and the receiving facility’s acceptance of Doe 4. As the court has previously noted, the

   other facilities did not accept Doe 4 due to his history of violence. (Ropp Aff. ¶¶ 21–22.)




           13
                Plaintiffs cite to the case of Scott v. Clarke, 64 F. Supp. 3d 813, 821–22 (W.D. Va. 2014), for the
   proposition that a facility cannot delegate its duty to provide mental health services to Doe 4, so the fact that ORR
   approval is required is irrelevant to the analysis. Scott, however, is inapposite. In Scott, the court held that the
   Virginia Department of Corrections, who was the custodian of the inmate, could not escape liability by delegating its
   duties to a medical contractor. Here, non-party ORR is the custodian of the Detainees, not defendant, and ORR has
   not delegated its duties. Regardless, nothing indicates that residential placement of Doe 4 was required.

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          For the above reasons, Doe 4 has not mustered sufficient evidence to show an underlying

   constitutional violation with regard to his mental health claim, and the court will grant summary

   judgment to defendant on the mental health claim.

   D. Remaining Monell Elements

          1. An unconstitutional custom or practice

          As noted, if a plaintiff asserting a Monell claim can establish an underlying constitutional

   violation, then the inquiry turns to whether there is an unconstitutional custom or practice,

   attributable to the defendant, that was the “moving force” for the violation of plaintiff’s

   constitutional rights. Given the court’s conclusion that Doe 4 has only shown disputes of fact for

   an underlying constitutional violation for his excessive force and conditions-of-confinement

   claims, the court looks next to whether plaintiffs have shown an unconstitutional custom or

   practice, but only with regard to those claims.

          Defendant’s analysis on this issue is lean. It conclusorily states that there is no

   unconstitutional custom or practice and takes issue with the report of Paul Driver, Ph.D., an

   expert statistician proffered by plaintiffs, who concludes that such a practice exists. Mostly,

   though, defendant relies upon the other prongs of Monell in an attempt to show the plaintiffs

   cannot prevail.

          Plaintiffs counter defendant’s assertion by first citing to the allegations in their complaint

   and concluding that they have sufficiently pled a custom or usage. While this may be true, they

   cannot rely on mere allegations at the summary judgment stage. They also cite to case law

   regarding supervisory liability, but they admitted at the hearing that they are not pursuing

   supervisory liability, given that no individual persons are named as defendants. They then turn

   to Diver’s report, in which he examined a spreadsheet prepared by plaintiffs’ counsel that



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   summarizes defendant’s reports regarding use of force, use of restraints, and use of room

   confinement. Using this summary, Diver notes a large number of occasions on which the

   Center’s employees violated the Center’s own policies regarding the use of force, restraints, and

   room confinement. Plaintiffs fail to recognize, however, that a violation of internal policies or

   procedures does not establish a constitutional violation. United States v. Caceres, 440 U.S. 741

   (1978). This is even true of violations of state law to the extent it is more demanding than the

   constitution. Riccio v. County of Fairfax, 907 F.2d 1459, 1469 (4th Cir. 1990). For the reasons

   stated in the court’s opinion regarding defendant’s motion in limine to exclude the expert

   testimony of Diver, the court will not consider Diver’s opinions with regard to proof of a custom

   or practice.

           Lastly, plaintiffs cite to testimony regarding the Center’s practices. This testimony

   indicates that fairly minor behavioral issues, self-harm, and verbal threats, without the ability to

   act on them, has resulted in use of restraints. In one circumstance, staff were told to use

   restraints on a child, without any less-intrusive interventions, if the child attempted to cut himself

   or “do anything.” (Ex. 20, Mahiri Dep. 175:21–176:2, 177:12–20.) A staff member also stated

   that physical restraint is used if the child’s behavior is “interfering with the routine of the other

   children.” (Ex. 4, McCormick Dep. 113:1–14.) Doe 4 also testified to having seen excessive

   uses of force.

           With regard to room confinement, plaintiffs cite to staff testimony that small infractions

   result in long periods of room confinement, which is also confirmed by some incident reports.

   For example, incident reports show confinement for eating too slowly. They also provide

   evidence of failures to remove children from confinement after the need for confinement has

   ended. The extent of these practices is disputed, but the current record could allow a reasonable



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   fact-finder—construing all evidence in plaintiffs’ favor—to find the existence of an

   unconstitutional custom or practice as to both the excessive force claim and the room

   confinement claim.

          2. Attribution to the Commission

          In addition to proving an unconstitutional custom or practice, plaintiffs must prove that

   the Commission had or has actual or constructive knowledge of the customs or practices and

   failed to take action to stop such practices. A showing of sufficient duration and frequency is

   one method of proving knowledge, and it appears to be the method plaintiffs seek to use.

          In support of its motion, defendant points out that Doe 4 has only complained of alleged

   mistreatment once to the Center’s knowledge. It also notes that reports are made to CPS

   whenever there is a complaint of excessive use of force, even if defendant believes there is no

   merit to the complaint. Additionally, defendant has terminated employees found to have used

   excessive force, even a staff member who threw a punch in self-defense while being assaulted.

          As an initial matter, and in contrast to defendant’s assertion that Doe 4 has only

   complained of alleged mistreatment once, Doe 4 states in his affidavit that he has filed

   complaints many times, but nothing happens, and he was told that his complaints would all be

   put in the archives if he filed one more complaint. Doe 4 also has stated that he does not

   remember all the complaints he made, including complaints of when staff used “too much force

   against” him. (Doe 4 Resp. to Interrog. 7, 13.)

          In response, plaintiffs rely on the written reports regarding use of force, restraints, and

   room confinement maintained by the Center. Plaintiffs argue that some of the reports reflect a

   failure of the Center’s employees to abide its internal policies and that there is no evidence of

   corrective action regarding these incidents. According to plaintiffs, this establishes awareness



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   and tacit approval on the part of the Commission that the Center engages in a pattern of conduct

   with regard to force, restraints, and room confinement that is unconstitutional. Moreover, Doe 4

   states in his interrogatory responses that he has filed complaints many times, but nothing

   happens, and he was told that they would all be put in the archives if he filed another complaint.

   (Doe 4 Resp. to Interrog. 7, 13.) This evidence is sufficient to show a dispute of fact precluding

   entry of summary judgment.

          3. Causal link

          Finally, plaintiffs must show a causal link between the custom or practice and the specific

   violation(s) at issue or, in other words, that the custom or practice was the “moving force”

   behind the specific harmful acts of which plaintiffs complain. Milligan v. City of Newport News,

   743 F.2d 227, 230–31 (4th Cir. 1984). “A sufficiently close causal link between such a known

   but uncorrected custom or usage and a specific violation is established if occurrence of the

   specific violation was made reasonably probable by permitted continuation of the custom.”

   Spell, 824 F.2d at 1391. The same evidence set forth above is also sufficient with regard to this

   Monell prong, so summary judgment is unavailable.

                                          III. CONCLUSION

          For all of these reasons, the court will grant in part and deny in part defendant’s motion

   for summary judgment.

          An appropriate order will be entered.

          Entered: December 13, 2018.



                                                  /s/ Elizabeth K. Dillon
                                                  Elizabeth K. Dillon
                                                  United States District Judge



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